In the United States District Court
For the Middle District of North Carolina

 

Brian David Hill
Petitioner,

Civil Action No. 1:17-CV-1036

V' Criminal ease No. 1;13-cr-435-1

United States of America
Respondent.

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PETITIONER’S RESPONSE BRIEF IN SUPPORT OF
“GOVERNMENT’S MOTI()N FOR LEAVE FOR TIME TO FILE
RESPONSE” (Document #146) WITH A FEW OBJECTIONS IN
OPPOSITION

NOW COMES the Petitioner, by and through Brian David Hill (“Brian D. Hill”,
“Plaintifi”, or “Hill”), that is acting pro se and is proceeding pro se before this
Honorable Court in the Middle District of North Carolina, is filing his Brief in
support of the Respondent’s “GOVERNMENT’S MOTION FOR LEAVE FOR
TIME TO FILE RESPONSE,” (See Document #146) but With a few objections in
opposition over clerical issues, legal issues, and truthful issues that need to be
corrected or looked into. Overall, the Petitioner supports the U.S. District Court
granting the Government’s “Motion for Leave for Time to File Response” allowing
them two Weeks to respond as a sign of good faith that Petitioner Wants the

Government to make its arguments and objections as to the newly discovered and

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additional evidence further supporting Petitioner’s 2255 Motion.

The United States of America is represented by Anand Prakash Ramaswamy
(“Ramaswamy”) and Angela Hewlett Miller (“Miller”). Ramaswamy is the main
counsel that is pertaining to pleadings in this entire 2255 case and Miller hasn’t

appeared to have filed anything under her name.

First the Petitioner supports the U.S. District Court granting the Government’s
Document #146 Motion, and has a few objections to the claims made in the Motion

for the following reasons:

l. Petitioner agrees With the statement of “WHEREFORE, the United States
respectfully requests that the Court grant leave for the government to
respond to Petitioner ’s motion (DE #144, #145) within two weeks, by
Fridav, March 23, 2018.” The Petitioner never intended to file additional
evidence with intent to not give the Government a chance to file a
response with their arguments, evidence, and remarks, prior to the Judge
making a decision on both the Government’s Motion to Dismiss
Petitioner’s 2255 Motion (Document #125) and the Petitioner’s 2255
Motion (Document #141). That is why the Petitioner had filed the
“Petitioner's Motion and Brief for Leave to File Ada’itional Evia'ence”
(See Document #144), to ask permission for the Court to permit the

admission of additional evidence and give the Government time to

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respond to this new evidence prior to making a final decision on
Petitioner’s 2255 Motion and the Government’s Motion to Dismiss
which may affect the Constitutional right of a criminal Defendant to
prove his actual innocence under equitable tolling and create new one (l)
year statute of limitations based on newly discovered evidence of facts
which could not have been exercised under due diligence, and based on
the Government’s (it can be the U.S. Attorney and/or U.S. Probation
Ojj‘icer Kristy L. Burton and/or even the F ederal Bureau ofPrisons to
conduct the unlawful impediment to be considered unlawful or
unconstitutional impediment by the United States Government that would
prevent a criminal defendant ]rom timely filing a 2255 Motion, especially
if such impediment was to prevent the criminal defendant aka the
Petitionerfrom proving actual innocence in a timely fashion.) unlawful
and/or unconstitutional impediment that had prevented the Petitioner
from filing an effective 2255 Motion that can meet the burden of proof
standard for showing factual innocence in a timely manner prior to the
statute of limitations running out. The Petitioner apologizes for the tactic
of trying to prove the crimes of Ramaswamy and any other Government
employees to open up the one year deadline for equitable tolling, and

isn’t trying to be mean to the Govemment, but the Petitioner may have no

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other recourse for being allowed an evidentiary hearing to prove actual
innocence The Petitioner had long ago decided to either prove his
innocence or commit suicide because he cannot stand being called a sex
offender when he a virgin and has never had sex with anybody and he
was framed with possession of child pornography The only thing that
keeps him from committing suicide is trying to prove his innocence. m
Government has made their message clear that Petitioner is not
allowed to prove his own actual innocence and that the U.S. Attorney
will use whatever means necessary to prevent the Petitioner from
proving his innocence because it isn’t beneficial to the Government
to be exposed to the criminal iustice system for convicting an
innocent man. The Government had given a good amount of time in
their Motion (Doc. #146) to reasonably review over the evidence, the
witnesses’ statements by Roberta Hill, Stella Forinash, and Kenneth
Forinash, and the Government has given a good reasonable time for the
extension of time period to respond. The Petitioner wants to hear why the
Government may again argue why Petitioner should not be allowed to
prove his innocence while depriving him of all Constitutional rights in
collusion with Eric David Placke (Federal Assistant Public Defender) to

force the Petitioner to falsely plead guilty or face up to twenty years in

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prison, then use that very false guilty plea against him due to ineffective
assistance of Counsel so severe that Petitioner would have had no
defense at jury trial even though he would have had a good criminal
defense of frame up to prove to a Jury that he was framed with child
pornography, gave a false confession, the U.S. Attorney and the entire
U.S. Department of [in]justice (Department of Justice) ignored all
evidence of his innocence and focused only on Petitioner’s guilt, and
attempted to use a liar named U.S. Probation foicer (“USP()”) Kristy L.
Burton of the United States Probation Office in the Westem District of
Virginia in Danville to openly lie about the Petitioner in F ederal Court to
place Petitioner on six (6) months of home detention or even the risk of
imprisonment and six months of halfway house which criminally (under
perjury) led to the unlawful impediment against Petitioner. Petitioner
wants to hear U.S. Attorney Asst. Anand Prakash Ramaswamy’s
reasoning why he would do all of this, why he would ignore evidence
of potential innocence, why Ramaswamy would allow USPO Kristy
Burton to lie against Petitioner knowing very well that Petitioner
kept asserting his innocence and filed defective 2255 pleadings and
evidence hinting in written filings that he intended to prove his

actual innocence in Federal Court. Even if Ramaswamy didn’t intend

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to commit subornation of perjury and didn’t intend to put a liar up on the
stand, he should have immediately notified the Court when evidence of
perjury showing multiple false statements by USPO Burton were
discovered and reported to the U.S. Federal Bureau of Investigation aka
the FBI as well as the U.S. Supervisory Probation Officer and even the
Administrative Office of the United States Courts. According to Attorney
Renorda Pryor, she informed Petitioner that the Government aka the U.S.
Attorney would have to approve of the “Motion to Reconsider” before
Renorda could file it to shorten the home detention. Petitioner on record
gave his mother documents to email to Renorda Pryor asking that she
push for the home detention to be stopped on (l) good behavior, and (2)
evidence proving that USPO Burton had lied however the Additional
Evidence filing proving furtherlies by USPO Burton (that Ramaswamy
permitted) was not known to Petitioner prior to preparing for and filing
his “Petitioner's Motion and Brief for Leave to File Additional Evidence”
under Document #144. Renorda failed and never gave an explanation
why the “Motion to Reconsider” was never filed. Petitioner assumes that
Ramaswamy blocked her from filing that Motion out of fear that his key
witness USPO Burton for the Supervised Release Revocation (“SRV”)

hearing set for June 30, 2015, would be discredited and her testimony

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impeached thus would release the Petitioner from the unlawful
impediment which would have given the Petitioner more time to timely
file an effective 2255 Motion or even ask for an extension of time to file
his 2255 Motion prior to the deadline set for November, 2015. Another
possibility is that Attorney Renorda Pryor chickened out which would be
ineffective assistance of Counsel as she had originally asked Judhe
Thomas D. Schroeder at the SRV hearing if she could file a motion to
shorten his home detention and the Judge made a comment about is,
assuming that it is in the transcripts as the witnesses at the SRV hearing
was well aware that Renorda brought up about filing a Motion to
challenge his home detention. It is reasonable that Ramaswamy wants
to win every criminal case that he has been assigned to by the U.S.
Attorney, and will do whatever it takes to win every criminal case.
Petitioner wants to see Ramaswamy’s response and see how many more
brick walls will be placed in front of him over simply trying to prove his
actual innocence which the Government wants to so desperately prevent
him from doing so, just as the threatening emails had stated in their
claimed objective to demand that Petitioner not appeal and not prove his
innocence. They clearly stated their intent as an objective and their

objective was to ruin alternative media activists including Brian D. Hill

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the Petitioner in this case by planting/manufacturing/fabricating child
pornography evidence via interstate and foreign commerce by use of a
computer that is acquired by interstate and foreign commerce.
Ramaswamy chooses to ignore all evidence of his innocence and that is a
fact. He doesn’t want to acknowledge that Petitioner gave a false
confession and is a fact of actual innocence. He doesn’t want to admit
that Petitioner gave a false confession like Michael Crowe did in
California which he was found innocent and his false confession
reviewed by the Ninth Circuit U.S. Court of Appeals over California.
Detectives telling Michael Crowe by hinting around that they had found
the evidence linking him to the murder of his sister when that was a false
statement by Detectives to compel Michael Crowe to falsely admit to
killing his sister and make statements that do not match the forensics.
The same circumstance in Petitioner’s false confession not matching the
forensics claims. Brian D. Hill and Michael Crowe both gave false
confessions which is a FACT of actual innocence and Ramasamy wants
to ignore that fact.

2. Objection to Paragraph 4, Doc. #146: “On March 7, 2018, Petitionerjiled

another 130 pages captioned as “Petitioner’s Motion and Brief for Leave to

File Additional Evidence. ” (DE #]44, #145). T he government wishes to

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address this filing due to its accusations of the undersigned engaging in
misconduct and due to its untimely nature. ” Petitioner understands why
Ramaswamy is frustrated by the number of pages presented, however the
witnesses had brought this additional new evidence to his attention that the
Petitioner didn’t know had ever existed until it was presented to him for review
by Stella Forinash and Kenneth Forinash. Petitioner didn’t ask the witnesses to
make it lengthy number of pages but after receiving and reviewing over the
Declaration/Affidavit, Petitioner wanted to present it anyways because all of it
is new evidence that the Court has never reviewed and has never witnessed due
to Ramaswamy blocking Renorda’s “Motion to Reconsider” or Renorda
chickened out and refused to file any Motion to challenge Petitioner’s horrible
home detention nightmare. The witnesses asserted that they think it would be
of good cause and good faith to file this additional evidence with the Court,
that the Habeas Court needs to see this before deciding whether to grant or
deny Petitioner’s 2255 Motion. His family stated that Petitioner can appeal his
2255 Motion if it is denied and that the evidence can aid in proving his actual
innocence, and that the appeal will be outside of N.C. State Senator Phil
Berger’s territory in North Carolina if Senator Berger has any influence over
this criminal case whatsoever. Petitioner asked one of his family members to
research what to file to ask the Court for permission to file this additional
evidence and assumed that a motion for leave to ask permission to file the

newly discovered evidence and file the additional evidence with a brief would

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be the best way to present the newly brought up evidence by the witnesses to
the U.S. District Court, as well as how it would apply to his 2255 Motion and
the statute. The Petitioner made sure to file the Motion for leave to ask the
Court to permit the additional evidence for review and give the Government
time to respond to the new evidence. This evidence has not been filed before
on Court record (with exception of the screenshots of Transcripts to show
where USPO Burton lied on the stand). This evidence the Court has not seen
before, Not the threatening email that lan Freeman of Free Talk Live had
received which has a similar typing style and method of operation that was
used against Petitioner via the tormail.org threatening messages, not the
additional evidence that Kristy L. Burton of the U.S. Probation Office had lied
multiple times on June 30, 2015, and that her lies went unchecked in Federal
Court leading to the wrongful home incarceration of Petitioner on a GPS
tracking device on his ankle impeding him from successfully filing an effective
2255 Motion as the device affected his mental health and caused him to
consistently fax the U.S. Probation Offices in different locations and even the
FBI informing them that USPO Burton was committing perjury and that he had
repeatedly asked for the home detention to be reversed. They all ignored the
evidence of her perjury under their committed acts of dereliction of duty and
making an innocent man suffer further punishment when all he had ever
wanted to do from the beginning of his criminal charge was be found innocent

by proving his innocence before he had falsely plead guilty. This is a travesty
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of justice, miscarriage of justice, a political nightmare far worse than what
Adolf Hitler could muster up as Petitioner cannot be given the respite of a

quick death from him being character assassinated but instead a consistent

 

suffering and deterioration of his mental and physical health slowly leading
him to deaths door if he doesn’t avert the constant stress and anxiety coming
from this case, and Ramaswamy doesn’t give any compassion over the
Constitution and doesn’t care about innocent people seeking justice.
Ramaswamy stating in one sentence that “. . . filing due to its accusations of
the undersigned engaging in misconduct . .” needs to be fully investigated by
the Office of the lnspector General of the U.S. Department of Justice or even
the Office of Special Counsel. Petitioner had asked the Office of Special
Counsel to investigate Ramaswamy as they aren’t part of the U.S. Justice
Department but they refused to investigate Ramaswamy because Petitioner is
not a Government employee. lt needs to be investigated by an outside party
that is willing to conduct such investigation instead of ignoring Petitioner as if
no evidence and testimony is ever credible. Ramaswamy has a Constitutional
right under freedom of speech and due process to response to Petitioner’s
allegations, however there needs to be a real criminal investigation into

Ramaswamy as to why he had presented a fraudulent case with entirely

 

questionable evidence, made the Petitioner take a plea agreement through his
ineffective counsel then his ineffective counsel John Scott Coalter threatening

Brian with perjury for proving his innocence when he was never given any

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opportunity to prove his actual innocence in an effective manner. Petitioner
was given no opportunity to cross examine the Government’s witnesses
Petitioner was given no opportunity to prove his innocence in any way which
would have been more than sufficient for a Jury to find him not guilty since
any fact of innocence is far stronger than simply raising a reasonable doubt.
Ramaswamy put a liar on the stand to force Petitioner into six months of home
detention. The U.S. Attorney Office is refusing to turn over a copy of all
discovery material pertinent to Petitioner’s 2016 Freedom of lnformation Act
(“FOIA”) Requests and have omitted the existence of one August 29, 2016
FOIA Request asking for the discovery material and that the purpose of
needing such records is for proving actual innocence. They are well aware that
Petitioner wants to prove his innocence and are standing iii his way and
impeding him under ever avenue from ever having any opportunity to prove
his innocence. Mayodan Police Department under the direction of corrupt State
Senator Philip Edward Berger Senior as the town Attorney of Mayodan, has
blocked Petitioner from getting access to his confession audio which would
have proven that he was coerced, gave a false confession by such coercion, that
the interview was politically motivated when the Police Detectives talked
about Brian’s YouTube channel (USWGO YouTube channel) and his political
website (uswgo.com, USWGO Altemative News, defunct website) prior to
getting him to falsely admit to the allegations of downloading child

pornography His family is even afraid of Phil Berger and continues begging

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the Petitioner not to further fax Mayodan Police Department anymore, and not
threaten lawsuits against the Town of Mayodan and threatening to sue Phil
Berger Senior, by faxing them to the town Clerk, but they are preventing
Petitioner from proving his innocence. Same thing with the N.C. State Bureau
of Investigation. All law enforcement agencies are stonewalling the Petitioner
and won’t let him prove his innocence. The FBI won’t even visit Petitioner and
will not interview him and won’t interview his family. The FBI don’t want to
investigate jack didly squat. They don’t want to investigate any of Petitioner’s
claims because they are a corrupt organization as well. The FBI may as well
have been in cahoots with Phil Berger or even Mayodan Police whether it be
true or not. So Petitioner files the FOIA Requests and the U.S. Attorney office
omits the existence of the forensic report of the N.C. State Bureau of
Investigation case file and the confession Audio CD disc in his FOIA lawsuit
in the Western District in Virginia under the Honorable U.S. District Court
Judge Jackson K. Kiser. The Petitioner welcomes Ramaswamy in
challenging every one of Petitioner’s claims against the U.S. Attorney
Assistant as all he has done is stonewall Petitioner, and has done
everything in his power to prevent the Petitioner from proving his actual
innocence. His family is also aware that Ramaswamy is registered Republican
iii North Carolina, and Philip Edward Berger, the corrupt State Senator, the
town Attorney of Mayodan, is also a republican Senator. Therefore it is

reasonable for Petitioner to believe that Ramaswamy will do everything he can

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to win his case at all costs, ignore evidence of Petitioner’s innocence, and
protect the interests of Republican State Senator Philip Edward Berger Senior
of the town of Mayodan. Petitioner looks forward to hearing how
Ramaswamy will respond to the allegations Yeah technically Ramaswamy
may be right about this brief being filed untimely, but it is additional evidence
that the Court has not previously seen which will affect the entire proceedings
and further cause a need for an evidentiary hearing to determine the facts of
Petitioner’s actual innocence. Petitioner cannot control what the witnesses do,
Petitioner cannot dictate what the witnesses do. When they find new evidence
from their records and knowledge that was not presented to the Court before,
Petitioner feels it is his civic duty in this case to show this evidence before the
final decision is made which would lead to his 2255 Motion to be denied,
granted, denied in part, granted in part, or even lead to an evidentiary hearing
to determine the facts of which to determine the basis and reasoning de novo
for making such decisions. The witnesses presented their 75 page Affidavit
(Declaration) to Petitioner and he thought filing that alone would not be
sufficient to demonstrate relevancy and demonstrate to the Court why it should
be reviewed by the Judge and admitted as evidence, the Government to
respond to it if they wish, and make a determination collaterally as a whole of
the entire evidence presented that is all in supporting his claims under his 2255
Motion and 2255 Brief. Petitioner couldn’t just demand to the witnesses that

the evidence had to be found in their email account and their testimony prior to

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filing a brief in opposition to Government’s earlier Motion to Dismiss. lt is
impossible for Petitioner to have known that there was even more evidence
against USPO Burton which would constitute an unlawful impediment by
Government action that would increase his chances of his 2255 Motion and
actual innocence claim being granted equitable tolling by the Habeas Court on
the ground of actual innocence and newly discovered evidence that could not
have been exercised under due diligence

3. Objection to Paragraph 3, Doc. #146: “Petz'tionerfiled in excess 0f100
pages on January 26, 2018, in response to the government ’s motion to dismiss.
T his filing, while exceeding the 20-page limit stated in the Roseboro letter, was
timely filed according to the limits set forth in DE #142. ” Petitioner cannot be
expected to further prove his actual innocence, show evidence in support of his
claims, assert cases of authorities, showing evidence proving that the
Government was wrong in claiming that Petitioner didn’t exhibit echolalia
when he had exhibited a delayed form of echolalia during his false confession,
and object to every one of his erroneous claims without exceeding 20 pages, it
is impossible The Clerk didn’t cite any Federal Rules as to why it is limited to
20 pages but was only cited in the Roseboro letter, This limit that cannot be
found anywhere in the Federal Rules of Criminal/Civil/Appellate Procedure
that gives it such authority to prevent the Petitioner from being able to fully
demonstrate case law authorities, arguments and evidence as to the Petitioner

should be allowed to prove his actual innocence

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4. Objection to Paragraph 2, Doc. #146: “Petitioner was advised in a
Rosel)oro letter] (DE #]42) sent from the Clerk of Court dated January IO,
201 8, that he “the right to file a ZO-Qage response in opposition to the
respondents motion... within 21 days j$'om the date of service of the
respondents motion upon [Petitioner]. " (DE #142). ” Petitioner doesn’t
understand what authority the 20-page limit is vested in as there is no rule set
in the Federal Rules. Even the Federal Rules of Appellate Procedure does not
have a 20-page limit as it can decides issues of facts and Constitutional merit
as well as statutory merit. They have a 30 page limit or a word limit of up to
13,000 words if l am correct. So Petitioner is to explain why the Government is
wrong, cite case law as to why the Government is wrong, why Petitioner
should have an evidentiary hearing for his actual innocence claim, and defend
himself against the Government using its abusive power to attempt to shut
down his actual innocence claim under Writ of Habeas Corpus, and yet he is
expected by the Clerk alone to only file 20 pages or less of evidence,
arguments, case law, and explain objections to each statement that may be
erroneous, incorrect, and contrary to law. Ramaswamy is asserting the local
Clerk’s uncited and non-statutory authority to dictate how many pages a
response brief can be when other Federal Courts have accepted briefs that are
more than 20 pages. Where is the statute and Federal Rules that put a page
limit on responses to motions to dismiss civil 2255 Motions for proving actual

innocence or any matter of Constitutional importance?

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CONCLUSION

Petitioner supports Ramaswamy’s Motion for Extension of time with a few
objections and supports the Government’s request to the U.S. District Court that
“the Court grant leave for the government to respond to Petitioner ’s motion (DE

#144, #145) within two weeks, by Friday, March 23, 2018.”

The Petitioner cannot wait to see what the response will be and will be happy to
challenge the Government’s erroneous claims as he files a reply to their response
The Petitioner has acted in good faith regarding his claims of misconduct by
Ramaswamy, as Donald John Trump the United States President believes that there
is corruption and criminal activities going on within the United States Department
of Justice, that for ma while Attorney General J eff Sessions wasn’t doing anything
about the corruption but instead started a Nationwide war on pot smokers as if
people smoking pot is of greater concern to society than the corruption within their
ranks. Petitioner and all witnesses including Attorney Susan Basko is aware of how
corrupt Ramaswamy is and how he likes to keep the Petitioner from proving his
actual innocence and Ramaswamy had threatened Susan Basko causing her to be
afraid of even appearing in Federal Court in 2014 to testify as a defense witness.

Ramaswamy is a coward and Justice needs to be served by the Court.

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The Petitioner’s new evidence should be considered, and Ramaswamy’s
misconduct needs to be reviewed by the Office of the lnspector General, as well
the American Bar Association and State Bar of North Carolina. Petitioner is
considering filing a grievance as Ramaswamy has acted with an ill intent against
justice, against due process, and against Petitioner proving his actual innocence lf
Petitioner isn’t innocent, then let the Government battle this back at the Jury trial.
Let the Jury decide if all facts of innocence cannot be established. The Government
should permit reversing/resending the false plea agreement and let the Petitioner
prove his innocence in the comfort and safety of his home during those
proceedings Petitioner is not a flight risk and he has behaved in supervised release
under the supervision by U.S. Probation Officer Jason McMurray. Ramaswamy
needs to stop resisting the actual innocence movement if he truly wants to seek

justice otherwise he is a fraud and a false knight of justice

Petitioner respectfully files this PETITIONER’S RESPONSE BRIEF IN SUPPORT OF

 

“GOVERNMENT’S MOTION FOR LEAVE FOR Tll\/IE TO FlLE RESPONSE” (Document

#l46) WlTH A FEW OBJECTlONS lN OPPOSITION With the Court.

Petitioner requests with the Court that a copy of this PETlTl()NER’S RESP()NSE
BRIEF lN SUPPORT OF “GOVERNl\/[ENT’S MOTION FOR LEAVE F()R
TIME TO FILE RESPONSE” (Document #146) WlTH A FEW GBJECTIONS lN
OPPOSITION be served upon the Government as stated in 28 U.S.C. 81915(d).

 

that “The officers of the court shall issue and serve all process, and perform all

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duties in such cases. Witnesses shall attend as in other cases, and the same
remedies shall be available as are provided for by law in other cases. Plaintiff
requests that copies be served with the Respondent which is the U.S. Attorney
office of Greensboro, NC and through counsel AUSA Anand Prakash Ramaswamy
and Angela Hewlett Miller via CM/ECF Notice of Electronic Filing (“NEF”)
email. Thank Youl

This PETlTlCNER’S RESPONSE BRIEF lN SUPPORT GF “GOVERNMENT’S
MOTI()N FOR LEAVE FOR TIME TO FILE RESPONSE” (Document #146)
WITH A FEW OBJECTIONS lN OPPOSITION is respectfully filed with the
Court, this the lOth day of March, 2018

 

Date Of Signing; Respectfully submitted,

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Brian D. Hill (Pro Se)

3 l0 Forest Street, Apartment 2
l\/lartinsville, VA 241 12
Phone #: (276) 790-3505

 

 

 

 

CERTIFICATE OF SERVICE

Petitioner hereby certifies that on March 10, 2018, service was made by mailing the

original of the foregoing

PETITI()NER’S RESPONSE BRIEF IN SUPPORT OF “GOVERNMENT’S MOTION
FOR LEAVE FOR TIME TO FILE RESPONSE” (Document #146) WITH A FEW
OBJECTIONS IN OPPOSITION

by deposit in the United States Post Office, Postage prepaid under certified mail
tracking no. 7017-1450-0000-9411-2914, on March 10, 2018 addressed to the Clerk
of the Court in the U.S. District Court, for the Middle District of North Carolina,
Greensboro division. Then Petitioner requests that the Clerk of the Court move to

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electronically file the foregoing PETITIONER’S RESPONSE BRIEF IN SUPPORT
OF “G()VERNMENT’S MOTION FOR LEAVE FOR TIME TO FILE
RESPONSE” (Document #146) WITH A FEW GBJECTIONS IN GPPOSITION
using the CM/ECF system which will send notification of such filing to the following

parties:

 

Anand Prakash Ramaswamy
U.S. Attorney Office
Civil Case # 1:17-cv-1036
101 South Edgeworth Street, 4th
Floor
Greensboro, NC 27401
anand.ramaswamy@usdoi.gov

 

Angela Hewlett Miller
U.S. Attorney Office
Civil Case # 1:17-cv-1036
101 South Edgeworth Street, 4th
Floor
Greensboro, NC 27401

angl ela.miller@usdoi.g, ov

 

 

 

This is pursuant to Petitioner’s “In forma Pauperis” (“IFP”) status, 28 U.S.C. §1915(d) that
“T he officers of the court shall issue and serve all process, and perform all duties in such
cases..."the Clerk shall serve process via CM/ECF to serve process with all parties.

 

Date of signing:

March id 2213

 

Respectfully submitted,

fir/ml l//°// _
lying Signed

Brian D. Hill (Pro Se)
310 Forest Street, Apartment 2
Martinsville, VA 24112

Phone #: §276: 790-3505

 

 

 

 

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